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11
                                 UNITED STATES DISTRICT COURT
12
                             DISTRICT OF NEVADA – RENO DIVISION
13

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      UTHERVERSE, INC., a Nevada corporation,           Case No. 3:25-cv-00020-MMD-CSD
15    BRIAN SHUSTER, an individual,

16                          Plaintiffs,                 NOTICE OF MOTION AND MOTION TO
                                                        DISMISS AMENDED COUNTERCLAIM
17    v.

18    BRIAN QUINN, an individual; JOSHUA                ORAL ARGUMENT REQUESTED
      DENNE, and individual; BLOCKCHAIN
19    FUNDING, INC. a Delaware corporation;             Complaint Filed: January 10, 2025
      BLOCKCHAIN ALLIANCE LLC, a
20    Wyoming Limited Liability Company;                Counterclaim Filed: February 28, 2025
      MASTERNODE PARTNERS, LLC, a
21    Wyoming Limited Liability Company;                Amended Counterclaim Filed: April 27, 2025
      LYNNE MARTIN, an individual; NIYA
22    HOLDINGS, LLC, a Nevada limited liability
      company; NIMA MOMAYEZ, an individual;
23    and JEREMY ROMA, an individual,                   Date:         TBD
                                                        Time:         TBD
24                          Defendants.                 Courtroom:    TBD
25
                                                        Filed Concurrently with Memorandum of
26    AND RELATED COUNTERCLAIM.                         Points and Authorities and [Proposed] Order

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                 NOTICE OF MOTION AND MOTION TO DISMISS AMENDED COUNTERCLAIM
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 1          TO: Counterclaimants Brian Quinn (“Quinn”), Joshua Denne (“Denne”), Blockchain

 2   Funding, Inc. (“Blockchain Funding”), Blockchain Alliance LLC (“Blockchain Alliance”),

 3   Masternode Partners, LLC (“Masternode”), Niya Holdings, LLC (“Niya Holdings”), and Nima

 4   Momayez (“Momayez”) (collectively, “Counterclaimants”) and their attorneys of record:

 5          NOTICE IS GIVEN that Counter-Defendants, Utherverse, Inc. (“UI”), Brian Shuster

 6   (“Shuster”), Utherverse Digital, Inc. (“UDI”), Peter Gantner (“Gantner”), Nexus Venture LLC

 7   (“Nexus”), Ari Good (“Good”), and Gary Shuster (“Gary”), do and will, on a date and time most

 8   convenient for this Court, or as soon thereafter as the matter may be heard, at the Bruce R.

 9   Thompson Courthouse located at 400 S. Virginia St., Reno, NV 89501, move for an order
10   dismissing Counterclaimants Amended Counterclaim in this action, on the grounds that each claim
11   of the Amended Counterclaim fails to state a claim upon which relief can be granted pursuant to
12   Federal Rules of Civil Procedure, Rule 12(b)(6), and applicable law.
13          This motion is based upon this Notice and Motion, the Memorandum of Points and
14   Authorities in support thereof, and on the pleadings, records, and files in this action, and on such
15   further oral and documentary evidence as may be presented at the hearing of the motion.
16   Dated: May 30, 2025                        COLEMAN & HOROWITT, LLP
17
                                                By: /s/ Sherrie M. Flynn
18                                                  Sherrie M. Flynn. Esq.
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25                                                   Shuster and Counter-Defendants Utherverse, Inc.,
                                                     Brian Shuster, Utherverse Digital Inc., Peter
26                                                   Gantner, Nexus Venture LLC, Ari Good and Gary
                                                     Shuster
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                  NOTICE OF MOTION AND MOTION TO DISMISS AMENDED COUNTERCLAIM
